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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

MATTHEW J. SHERVEN,                           )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )       Civil Action No. 23-00728 (UNA)
                                              )
OFFICE OF THE DIRECTOR OF                     )
NATIONAL INTELLIGENCE,                        )
                                              )
                                              )
                Defendant.                    )


                                  MEMORANDUM OPINION

       Plaintiff, appearing pro se, has filed a Complaint, ECF No. 1, and an application to proceed

in forma pauperis, ECF No. 2. The Court will grant the application and dismiss this action

pursuant to 28 U.S.C. § 1915(e)(2)(B) (requiring immediate dismissal of a case upon a

determination that the complaint is frivolous).

       Plaintiff is a resident of Mount Horeb, Wisconsin, who has sued the Office of the Director

of National Intelligence (ODNI). He alleges:

               The United States Intelligence Community possesses spy satellites
               that it uses for "targeted signals intelligence gathering". These
               satellites are used to spy on individual American citizens within the
               United States. Some of the spy satellites owned by the Intelligence
               Community are mind-reading satellites. These mind-reading
               satellites record the radio waves naturally emitted by human brains
               and feed them to computers running machine learning algorithms
               that have been trained to decode the thoughts inside of human
               brains. One of these mind-reading satellites was used to spy on the
               Plaintiff’s internal thoughts, for four years straight.

Compl. at 1. Plaintiff seeks an order that (1) directs defendant “to stop mind-reading him and rule

that mind-reading violates the Fourth Amendment to the Constitution” and (2) compels defendant

“to hand over all recordings of his internal thoughts to him.” Id. at 2.


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       Complaints premised on fantastic or delusional scenarios or supported wholly by

allegations lacking “an arguable basis either in law or in fact” may be dismissed as frivolous.

Neitzke v. Williams, 490 U.S. 319, 325 (1989). The instant complaint satisfies this standard and

therefore is dismissed. A separate order accompanies this memorandum opinion.



                                                   _________/s/____________
                                                   TANYA S. CHUTKAN
Date: April 5, 2023                                United States District Judge




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